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United States Bankruptcy Court District Of New Jersey


Ryan Wetter
Pro Se Defendant
857-654-6744 I i:yanwetter@gmail.com
Case 22-01109-MBK, Docket 1
Plaintiffs: George and Cindie Sariotis
Re: Answer to complaint


To the Honorable Michael B. Kaplan ,


Please accept this answer as my answer to the Plantiffs' complaint. Even though I am one defendant, the
Plaintiffs often lump the Defendants as one. When appropriate, I will respond in-kind.



1. The Plaintiffs allege the following


       A. "Defendant Ryan Wetter claims to hold a power of attorney ("POA'') signed by Defendant Thalia
       Sariotis. A copy of the POA is annexed hereto as Exhibit B".


       FALSE {Exhibit A}. Ryan Wetter does not claim to hold this role for he is Thalia Sariotis 's Power of
       Attorney. The revocation of George Sariotis and assignment of Ryan Wetter are public record.


       B. "Defendant Ryan Wetter also resides at the Redwood Drive Property and may have a possessory
        interest in the Redwood Drive Property."


       FALSE. Ryan Wetter has possessory interest in that he has always been given the right to reside at 61
       Redwood Drive.


       C. "The benefit to the estate of a sale of the Redwood Drive Property free and clear of the interests of
       Defendants outweighs any detriment to the Defendants because: (a) Defendants have been occupying
       the Redwood Drive Property without paying rent and should be paying rent."


       FALSE. Ryan Wetter is unaware of any oral, written, or implied rental agreement. If one exists, the
       Plaintiffs, who only now are using landlord status in their complaint, do so to their own detriment. Since
       Ryan Wetter became a resident in the Fall of 2015, all repairs , servicing, and replacements of the home
       were paid for by Defendant Thalia Sariotis. Occasionally Ryan Wetter has paid for these types of bills,
       but has more often engaged in repairing or replacing broken garage doors, plumbing issues, appliances,
       minor electrical issues , minor furnace issues, etc at no cost to his grandmother, Thalia Sarioits.
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       D. "The contract of sale provides for a use of occupancy of the property until September 30, 2022,
       which substantially mitigates any hardship Defendants might otherwise sustain ."


       FALSE. There is no guarantee for a use of occupancy. If the Plaintiffs are approved to sell, they have the
       option to sell the home for a better price. If this occurs, it is less than guaranteed to provide the
       Defendants a new use of occupancy. In addition , the Plaintiffs assume that the use of occupancy
       "substantially mitigates any hardship the Defendants might otherwise sustain." This assumption is
       presented as an " everyone wins or everyone loses" scenario, discounting the Plaintiffs' years of financial
       mismanagement, which was the origin of the hardship the Defendants now face. This hardship would
       have been substantially mitigated if the Plaintiffs acted in accordance with the basic expectations of a
       Power of Attorney, let alone those of decent people, and gave ample and transparent notice of how their
       financial wrongdoings would eventually affect the Defendants.



2. Through secrecy and timing, the Plaintiffs have damaged the Defendants' ability to mitigate both present and
future hardships


       A. Pre March 25, 2022, Defendants were unaware that 61 Redwood Drive was in danger of being lost as
       our residency.


       B. Pre March 25, 2022 , Defendants were unaware of the 2011 & 2014 mortgages borrowed by GCS
       Contractors Corp which would end up encumbering the Defendants' residenc y.


       C. Pre March 25, 2022: foreclosure letters addressed to 61 Redwood Drive were, by request of the
       Plaintiffs, left in the garage for Plaintiff Cindie Sariotis to pick up.


       D. Pre March 25, 2022: Any question lodged by the Defendants to the Plaintiffs about the foreclosure
       letters were consistently met with reassurance that all was being handle d; no reason to be worried.


       E. Pre March 25, 2022: Defendants were unaware that the Plaintiffs, as early as December of 2019, were
       attempting Chapter 11 Bankruptcy in which the Plaintiffs' would eventually target the Defendants'
       residency first and foremost.


       F. On March 25, 2022: Plaintiff George Sariotis, without warning, made the Defendants aware that 61
       Redwood Drive was to be sold immediately. George announced that "no one makes a penny" and that
       the blame for his financial misfortunes came mostly from the support he's given his parents over the
       years.
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G. On March 26, 2022: Plaintiff's son, Gregory Sariotis, a listing agent for The Burke & Manna Real Estate
Agency, began showing 61 Redwood Drive to prospective buyers in groups.


       H. A few days after March 26th, Ryan Wetter called Gregory Sariotis to inquire about new showings .
       Gregory responded that they found a buyer. Ryan Wetter inquired about Thalia Sariotis's involvment and
       her eventual need to sign. Gregory Sariotis responded that her signature was not required.


       I. On the same day as the above bullet point, Ryan Wetter sea rched online, procuring a copy of two
       deeds. When showing the Defendants what he found, the Defendants recalled deed 1 but were unaware
       of, and confused by, the existence of deed 2, which showed a significant, unexplainable transfer of
       ownership that gave the Plaintiffs 95% ownership of 61 Redwood Drive.



3. The Plaintiffs have taken the following actions since they filed for Bankruptcy in April of 2022


       A. The Burke & Manna Real Estate Agency


              On April 22nd, 2022 at 430pm, Ryan Wetter entered the headquarters of The Burke & Manna
              Real Estate agency to retrieve documentation related to the sale of 61 Redwood Drive that the
              Plaintiffs, Gregory Sariotis, and the Plaintiffs' attorneys refused to acknowledge when requested.
              Michael Manna, broker of record, thought 61 Redwood Drive was likely at the stage of a listing
              agreement. I proposed the possibility the sale may be past the attorney review process. With prior
              knowledge of the family ties involved in the sale, Michael asked Ryan who Thalia Sariotis 's
              attorney was. Ryan responded that he didn't believe she had one. Michael expressed disbelief
              that the Plaintiffs would not have retained an attorney for her. Mr. Mannaa then looked up the
              listing; its status was "offer accepted," which meant, as he explained, that it could not be out of
              attorney review. Michael repeated his belief that the Plaintiffs must have retained an attorney for
              Thalia. Ryan Wetter requested that Michael call Gregory Sariotis, while I was present, to clear up
              this confusion. After the call, Michael relayed what Gregory told him:


               •   Gregory said the attorney review was complete
               •   Gregory said he could not find his copy the attorney review letters
               •   Gregory said that Thalia 's attorneys were Broege, Neumann , Fischer & Shaver



       B. The Hiring of Jerold Dreskin, CPA {Exhibit B}


              Jerold Dreskin,the accountant hired by the Plaintiffs, answered Docket 37-1, line 5 within the
              Plaintiffs' Bankrnptcy proceeding {Case 22-19616-MBK} as follows
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       To the best of my knowledge, after reasonable and diligent investigation, my connection with the
      debtor, creditors, any party in interest, their respective attorneys and accountants, the United
      States Trustee, or any person employed in the Office of the United States Trustee, is as follows:
      None.


      The Plaintiffs, seeking the court's approval to hire Jerold Dreskin, answered Docket 37, line 6 as
       follows


       To the best of the applicants' knowledge, the professional's connection with debtor, creditors, any
      other party in interest, their respective attorneys, and accountants, the United States Trustee is
      asfollows: None.


       Prior to requesting the services of Jerold Dreskin , the Plaintiffs, both in their original and current
       attempt, list Jerold Dreskin as the accountant for Plaintiffs' businesses, GCS Contractors Corp
       and 1974 LLC.


      Jerold Dreskin was also the family accountant for Michael Sariotis, George 's uncle. Jerold
       Dreskin and Geroge Sariotis were involved parties to the sale of Gregory (Thalia's deceased
       husband; George's father) and Michael Sariotis's business; a sale that spanned 3-4 years.



C. Covert Letter of Agreement {Exhibit C}


       On Tuesday, May 10th, 2022, the document found in Exhibit C was handed to Ryan Wetter by a
       third party. The third party explained that Plaintiff George Sariotis had asked them to privately
       deliver the document to defendant Thalia Sariotis, have her sign, and return the signed document
       to George.


       Upon receiving the document, which was delivered to the third party in an unsealed envelope,
       Ryan Wetter recognized the document contained an electronic signature for Thalia Sariotis.


       On Wednesday, May 11, 2022, Ryan Wetter separately alerted the Plaintiffs and their firm of the
       document in his possession and the Defendants' concern of its existence. Ryan Wetter also
       voiced frustration in that the defendants had made multiple attempts at mediating this situation
       within the family prior to the adversarial complaint; all attempts went unanswered.
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4. Is the validity of the deed for 61 Redwood beyond reproach? {Exhibit D}


       A. Ryan Wetter confirmed with the Monmouth County Clerk's office in Freehold, NJ, that the deed
       should not have been recorded for the following reason:


                 The last page of the deed is dated September 2, 2008.
                 The first page of the deed is dated September 2, 2009.


       If caught by another recording agent, the above discrepancy would have resulted in a second revision for
       the deed in question.


       B. On both seller's residency certification forms, the percentage of ownership was changed with a
       marker or pen, turning one seller's equity from% to ½ and the other's from ½ to ½. Neither of these
       changes were initialed by the grantors, although this would not be reason alone to reject the recording of
       a deed.


       C. The first submission of this deed, confinned by the Clerk's Office, required a revision. The initial
       submission and its return for correction would have gone to the attorney listed on the deed as his name
       and address request it so. From there , the adjustments made to the deed are without guarantee that
       parties were privy to the changes made prior to resubmission for recording.


       D. Gregory and Thalia Sariotis were capable of signing this deed, yet Plaintiff George Sariotis signed
       the dates for them .


       E. In addition, the Plaintiffs have engaged in other examples of agreements with the Defendants that
       mimic the deed's need for outside scrutiny: {Exhibit E}


                 II. The notary for both the 2011 and the 2014 mortgages, which was taken out by GCS
                 Contractors Corp was John Harris: the Vice President of GCS Contractors Corp.


                 IV The guidelines governing notary publics warns against notarizing any contract that stands to
                 benefit the notary. As Vice President of GCS Contractors Corp, it could be said that John Harris
                 did not follow the guidelines of what is expected of proper notary behavior.



5. In summation


       A. The Plaintiffs used the implicit trust of the Defendants to gain a future advantage for themselves to
       the detriment of the defendants.
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       B. The Plaintiffs engineered an inequitable environment in which the Defendants can not adequately
       defend themselves.


       C. The Plaintiffs have lied to the court, putting their bankruptcy proceeding at risk, and in turn, putting
       the Defendants at risk.


       D. The deed to 61 Redwood Drive warrants a proper fraud investigation.



I, Ryan Wetter, am grateful to the court in allowing me to express what I have experienced since March 25th,
2022 . I swear that my answer to the Plaintiff 's complaint is truthful, and recognize that my words and actions
are subject to punishment. These are my words alone; any ramifications that may arise due to my answer should
be directed solely at me.


Sincerely,




Ryan Wetter
7/7/2022
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                Send Certification

Name                                                                     Email
 Judge Michael B. Kaplan                      Chambers_of_MBK@njb.uscourts.gov

 Maggie McGee                                           maggie.mcgee@usdoj .gov

 Matthew P. Dolan                                           mdolan@meyner.com

 Kyle Eingorn                                             Keingorn@dbblegal.com

Geoff Neumann                                          Geoff.neumann@gmail.com




           Each individual listed above has been sent
                 this email on Thursday, 7/7/22




                               yan Wetter 7/7/2022
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            Exhibit A
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                 •
               MONMOUTH COUNTY CLERK
               PO BOX 1251
               MARKET YARD
                                               Monmouth County Document Summary Sheet

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                                            Name(s)     (Last Name, First Name or Company Name)
                                                                                                       1
                                                                                                                         Address {Opti onal)
                                            Thalia Sariotis

               First Party



                                            Name(s) (Last Name , First Name or Company Name)                             Address (Optional)
                                            Ryan Wetter

               Second Party



                                                                       The Following Section is Required for DEEDS Only
                                                    MuniciDalitv              Block              Lot               Qualifier            Property Address


               Parcel Information


                                                                   Recording Reference to Original Document             Of applicable)
                                                           Book                            Be1tinnin1r Page                         Instrument No.
               Reference Information                                                                                               2022041318
               ( M a rginal Notat ion)


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             A-2                         PREPARED BY:@                   #       -,._.,_
                                                           CHRISTOPHER J. LaMONICA , ESQ.
                                                           Princeton Professional Offices
                                                           44 Princeton Avenue
                                                           Brick, New Jersey 08724



                               GENERAL POWER OF ATTORNEY

         KNOW ALL MEN BY THESE PRESENTS that I, THALIA SARIOTIS, do hereby

 constitute and appoint RYAN WETfER my true and lawful attorney in fact for me and in my

 name, place and stead, and for my use and benefit:

         To exercise, do or perform any act, right, power, duty, or obligation whatsoever that I

 now have or may acquire the legal right, power, or capacity to exercise, do, or perform in

 connection with, arising out of, or relating to any person, item, thing, transaction, business

 property, real or personal, tangible, or intan gible, or matter whatsoever;

         To ask, demand, sue for, recover, collect, receive and hold and possess all such sums of

  money, debts, dues , bonds, notes, checks, drafts, accounts, deposits, legacies, bequests, devises,

  interests , dividends, stock certificates, certificates of deposit, annuities, pension and retirement

  benefits, insurance benefits and proceeds, documents of title, causes of action , personal and real

  property, tangible and intangible property and property rights, and demands whatsoever,

  liquidated or unliquidated, as are now, or shall hereafter become owned by, or due, owing,

  payable, or belonging to me or in which I have or may acquire an interest, and to have, use and

  take all lawful ways and means and legal and equitable remedies, procedures , and writs in my



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 name for the collection and recovery thereof, and to compromise, settle, and agree for the same,

 and to make, execute and deliver for me and in my name all endorsements, acquittances, releases,

 receipts, or other sufficient discharges for the same;

         To lease, purchase, exchange, and acquire and to bargain, sell, contract, and agree for the

 lease, purchase, exchange, and acquisition of, and to take, receive, and possess any real or

 personal property whatsoever, tangible or intangible, or interest therein, on such terms and

 conditions, and under such covenants, as said attorney in fact shall deem proper;

         To improve, repa ir, maintain, manage, insure, rent, lease, bargain, sell, release, convey,

 subject to liens, mortgages, and hypothecate and in any way or manner deal with all or any part

 of any real or personal property whatsoever , tangible or intangible, or any interest therein, which

 I now own or may hereafter acquire, for me and in my name, and under such tenns and

 conditions, and under such covenants as said attorney in fact shall deem proper;

         To have access at any time or times to any safe deposit box rented by me, wheresoever

  located, and to remove all or any part of the contents thereof, and to surrender or relinquish said

  safe deposit box, and any institution in which any such safe deposit box may be located shall not

  incur any liability to me or my estate as a result of permitting my agent to exercise this power;

         To engage in and transact any and all lawful business of whatever nature of kind for me

  and in my name;

         To sign, endorse, execute, acknowledge, deli ver, receive and possess such applications,

  contracts, agreements, options, coven ants, deeds, conveyances, trust deeds, security agreements,

  bills of sale, leases, mortgages, assignments, insurance policies, bills of lading, warehouse

  receipts, documents of title, bills, bonds, debentures , checks, drafts, bills of exchange, notes,




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 stock certificates, proxies, warrants, commercial paper, receipts, withdrawal receipts and deposit

 instruments relating to accounts or deposits in, or certificates of deposit of, banks, savings and

 loan or other institutions or associations, proofs of loss, evidences of debts, releases, and

 satisfactions of mortgages, judgments , liens, security agreements, and other debts and

 obligations, and such other instruments in writing of whatever kind and nature as may be

 necessary or proper in the exercise of the rights and power herein granted;

            To authorize my admission to a medical, nursing, residential or other similar facility, and

 to enter into agreements for my care, including the retention of nurses;

            To make gifts, including gifts to my Agent, to execute disclaimers, and to take any other

 acts to implement sound estate, tax or long-term care planning;

            To contribute property to any Trust created by me duri ng my lifetime for my benefit;

            To create a Trust for my benefit if I have not created any such Trust during my lifetime,

 naming my Agent or an individual or bank or trust company as my Agent shall select as Trustee

  or successor Trustee and to transfer any or all of my property to such Trust as my Agent shall

  decide.

            I hereby specifically empower my said attorney-in-fact to have access to and receive my

  " Protected Health Information" in accordance with the Health Insurance Portability and

  Accountability Act of 1996, 42 USC 1320d ("HIPAA") and the regulations enacted pursuant

  thereto. My said attorney-in- fact shall be specifically designated as my "Personal

  Representative" as defined in 49 C.F.R. § l 64.502(g) for the purpose of authorizing the release of

  my complete health records as may be necessary in order to obtain for my benefit medical

  treatment or consultation.




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         I grant unto my said attorney in fact full power and authority to conduct banking

 transactions as set forth in section 2 of P.L. 1991, c.95 (N.J.S.A. 46:2B-11).

         I grant to my said attorney in fact full power and authority to do and perform all and

 every act and thing whatsoever requisite, necessary, and proper to be done in the exercise of any

 of the rights and powers herein granted, as fully to all intents and purposes as I might or could do

 if personally present, with full power of substitution, or revocation, hereby ratifying and

 confirming all that my said attorney in fact, or his substitute or substitutes, shall lawfully do or

 cause to be done by virtue of this Power of Attorney and the rights and powers herein granted;

         This Instrument is to be construed and interpreted as a General Power of Attorney. The

  enumeration of specific items, acts, rights , or powers herein does not limit or restrict, and is not

  to be construed or interpreted as limiting or restricting the general powers herein granted to said

  attorney in fact.

          The rights, powers, and authority of said attorney in fact to exercise any and all of the

  rights and powers herein granted shall commence and be in full force and effect upon the signing

  and execution of this document, and such rights, powers, and authority shall remain in full force

  and effect thereafter until written notice executed by me is given and received by my said

  attorney in fact.

          This General Power of Attorney is to remain in full force and effect notwithstanding any

  physical or mental incapac ity I may suffer in the future.

          I hereby revoke any Power of Attorney heretofore executed by me.

          I authorize any person dealing with my said attorney in fact to accept photocopies hereof

  provided same contain an original signature duly notarized, I having executed such photocopies

  intending same to be in all respects duplicates of the original document.




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        IN WITNESS WHEREOF, I have hereunto set my hand and seal

 this   1                                                , 2022.




                                                       THALIA SARIOTIS




                   J. LaMONICA, ESQ.


 STATE OF NEW JERSEY)
         SS:
 COUNTY OF OCEAN)
                                              I) 'T"-             A /.? /4'/'L
 BE IT REMEMBERED, that on this                / - day of        / ,--, '                   , 2022,
 before me, the subscriber, an attorney at law of the State of New Jersey, personally appeared
 THALIA SARIOTIS, who , I am satisfied, is the person named in and who executed the within
 General Power of Attorney, to whom I first made known the contents thereof, and she thereupon
 signed, sealed and delivered the same as her voluntary act and deed, for the uses and purposes
 therein expressed.




                                               C srHER       J.LaMONICA, An Attorney
                                               at Law of the State of New Jersey




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APR 1 1 2022 '(I\        NOTICE OF REVOCATION OF POWER OF ATTORNEY

                Pursuant toNJS.A. 46:2B-81.0, I, THALIA SARIOTIS, (Principal) of 61 Redwood

       Drive, Ocean Township, New Jersey 07712, hereby give notice that I revoke effective

       immediately the Power of Attorney dated November 14, 2005, and all powers and authority

       given, provided or implied therein to GEORGE SARIOTIS.

                I am providing a copy ofthis revocation to my Agent/Attorney-in-Fact.

                IN WITNESS WHEREOF, I have signed this Notice of Revocation of Power of Attorney
        (.)

       on      4-ꞏ-ti_.;,_ - -' 2022.
       WITNESS:




       ChristophehLaMonica, Esq.


       Dated:       f/l«-1'1   I]       , 2022

       S T ATE OF NEW JERSEY :
                                                 ss.
       COUNTY OF OCEAN:

               On /L           ')        , 2022, before me, an attorney at law of the State of New
       Jersey, personally appeared THALIA SARIOTIS, personally known to me to be the pe JtiQCJ-.                    Oli1d lVlOl
       whose name is subscribed to the within instrument and acknowledged to me that she execlli' e d                     533
       the same in her authorized capacity, and that by her signature on the instrumen t the pers n g:,r thetH0 80:)38AlNOO:)
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       Mr. George Sariotis                              Christopher J. LaMonica, Esq.
       1801 Pitney Street                               44 Princeton Avenue
       Oakhurst, NJ 07755                               Brick, New Jersey 08724




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            Exhibit B
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            Certification of Accountant
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                                            Page 17 of 36CPA Page 1 of 3




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 25 be Voorh s Ori e
 Manasquan e Jer ey 08736
 Tel: (732) 223-8484
 timothy.neumann25 mail.com
 geoff.neumann gmail.com
 Attorney for Debtor -in-Po session,
 George Sarioti and Cindy Sarioti

 In Re:                                                                              .: 22-1 2916

                             and

                                                                          Judg - :   . ichael B. aplan
               btor.
                                                                          Hearing . at : 6/ l /2022



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                    5.     To th best of m kno ledge after reasonabl and dili                       nt in estigation

         my conn ction        ith the d btor        redit    , an party in inter t, their re pecti e attome

         and accountant       th ꞏ     n it d tate Trustee or any person employed in the ꞏ ffice of the

        ꞏ 'nit ed                       a follows :

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                                                       D crib       onn tion:       /

6.    o th b st of m kn              led ge aft r r a onabl        and diligent in estigati n, th

          onnc ti n of m firm it members, sha r hold r , partners a                      iat , offic rs anꞏ or emplo

               ith th d btor ꞏ r dit        an other party in inter st their r . pecti e .tto rn y and accountan t

         the    nit d tate Trust             r an     erson empl       d in th Office of th • n ited tate          rust , i

         a folio

                                        X                   one
                                                       D      ribe connection:      /

                    7.      o th       b st of my kn wled            my firm, it m mb r ,

        a sociat s, offi ers and/ r mp loyeesand I (ch               k II that appl ):




                    8.    ff th profi        ional i an aucti n r:        /

A.   A urety b nd in ace rdance -. i th D. .J. LBR 2014-1(8) 2) is
                             atta h d.




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                                 Document       Page 1 of 2
                                               Page 19 of 36


  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Timothy P. eumann, Esq. [T 6429]
  Geoffrey P. ; eumann, Esq. [59702019]
  BROEGE,        UMANN, FISCHER & SHAVER, LLC
  25 Abe Voorhees Drive
  Manasquan, ew Jersey 08736
  Tel: (732) 223-8484
  timothy.neumann25gmai1.com
  geoff.neumann@gmail.com
  Attorney. for Debtors-in-Po session,
  George Sariotis and Cindy Sariotls

  In Re:                                                     Case    o.: 22-12916

  GEORGE SARIOTIS and                                        Chapter 11
  CINDY SARIOTIS,.
                                                             Judge : Michael B. Kaplan
           Debtors.
                                                             Hearing Dat :. 6/16/2022


                      APPLICATIO TO RETAIN JEROLD DRESKIN
                          AS ACCOUNT T FOR THE DEBTOR
                       IN COMPLIA CE WITH D.N.J. LBR 20l4(l)(a)

   1. The applicants, George Saritois and Cindy Sariotis, are the Debtors.

   2. The applicants seek to retain the following professional:

       Jerold Dreskin. CPA ("Mr. Dreskin")

   3. The professional has been selected because of its expertise in preparing financial

       documents.

   4. Mr. Dre ldn shall prepare out tanding tax returns for the Debtors.

   5. The proposed arrangement for compensation includes monthly interim

       compensation billed at $200/hour, as set forth in the accompanying certification

       annexed. thereto subm.itted herewith.
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              Certification of Accountan
                               Document      Page 20eskin
                                                     of 36 CPA Page 3 of 3




                                          Yes                      0


                B.      My qua li fication      and              peri nee a    an auction er
                        i nclud :

                        Ha e you or any other memb r of ur firm e r been con i t d f
                        an crim i nal ffen e other than mot or vehic.le i la tions? If ye:.
                        explain:

        9.       If the prof, ꞏ ional     an auctioneer apprai r or realtor, th locati on and

 d script ion of the pr perty i as foUm

                         I

        l ertify that Lhe foregoing tat m nt made b me ar true. I am awar that if an of the

 for oin     tatements made b m ar        illfully fals    [ am ubje t t puni hment



 Dat,ed: 5/17/2022                                        , .t::::fl




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                                                          2 of 2
                                                            of 36


   6. To the best of the applicant ' knowl ge,. the profe sional s connection with be

       debtor, credit,ors, any other party in interest their respective attorneys and

       accountants, the United Sta _,e Trustee, or any per o•n employed         m ,the Office ofthe
       United States, Tms ee is as follow :

                                           one
                                          Describe onnection:

       7.        To, the best of applicants' Imo le,dge. the profe si,onal(check all that apply):

                             X            Does not hoM an .adverse inte11est to the estate.
                                          Does not represent an ad erse interest to the estate.
                             X            Is a dimsꞏ ter,ested per ,on under 11 U.S.C. § .ilOl( 4).
                             X            Doe not repre ent or hold any interest adverse to the
                                          debtor or the estate with respect to the matter for
                                          which she will be.retained under 1 n U.S.C 327(e).
                                          Other:

       8.        If the tprofessional is. an auctioneer, app:raiser or rea!tm:, the tocation. and description

of the property is a follows:      /A

       WHEREFORE, the applicants res.pectfuJly request authorization , to emp oy the

                          ꞏ ces in accordance with thi . a pplication, witb compensation to be paid
professional to render serv

as an administrative expense in uch amount as the Court may hereafter determine and allow.


Dated:_5/ 112022                                   By: /s/ George Sqrjotis



Dated: 5/ 7/2022                                   By: Isl c ꞏ:n-dy Sariotis




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            Case
             Case19-32528-MBK
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                                                     Page 22 of 36
 Debtor 1        Sariotls Geor e                                                                                     Case number jl i<nmm) 3:19-bk-32528



24. Has any governmental unit notified you that you may be liable o                                               under or in violation of an environmental law?

      ■       No
      D       Yes. Fill in the details.
         Nam.a of site                                                  Governmental unit                               Environmental law, i f you          Date of notice
         Address (Number, Streat, City, State and ZJP Coda}             Address (Numb• r, St reat, City, State and      know it
                                                                        ZIP Code)


25. Have you notified any governmental unit of any release of hazardous material?

      ■       No
     0        Yes. Fill in thedetaisl.
         Name of site                                                   Governmental unit                               Environmental law, if you           Date of notice
         Addr,ess (Num ber, StrH t, City, State and 2.1P Cod e)         Address (Number, Streat, City, State and        know it
                                                                        ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any env.ironm enta l law? Include settlements and orders.

      ■       No
      D      Yes. Fill in the details.
         Case Title                                                     Court or agency                              Nature of the case                     Status of the
         Case Number                                                    Name                                                                                case
                                                                        Address (Numb■r, Slr■ e t, City , State
                                                                        and ZIP Cod■)


                Give Details About Your Business or Connections to An Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections                             to any   business?
              D A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              ■ A member of a limited liability com,:iany (LLC, or limited liability partnen;hip (LLP)
              D A partner in a partnership
              ■ An offi cer , director, or managing executive of a corporation
              D An owner of at least s•;.of the voting or equity securities of a corporation
     0        No. Nona of the above applies. Go to Part 12.

      ■       Yes. Check all that apply above and fill in thedetails below for each business.
         Business Nam.e                                           Describe the nature of the business                    Employer Identification number
         Address                                                                                                         Do not include Social Security number or ITIN.
         (Numb er, Str. e City, Staie and ZIP Cod■)               Name of accountant or bookkeeper
                                                                                                                         Date_s business existed
         GCS Contractors Corp                                     construction                                           EIN:       0400438501
                                                                  Jerald Dreski n, CPA, 1903 S                           From-To Formed in 2011 and ceased
                                                                  Conress Ave Ste 340 Boynton                                       operation In 2016
                                                                  Beach, FL 33426                                                   out of business for approx 2 and
                                                                                                                                    one-half years

       1973 LLC                                                   consulting                                             EIN:       0450087105
         1801 Pitney St
         Oakhurst, NJ 07755-2840                                  Jerold Dreskln CPA 1903 S                              From-To   2016 to present
                                                                  Congress Ave, Ste 340 Boynton
                                                                  Beach, FL 334.26

         TSS Holding LLC                                          Investment property                                    EIN:

                                                                                                                         From.-To Began 1986 and transferred his in
                                                                                                                                    2/2019




Official Fonn 107                                         Statement of Financ ial Affairs for Individuals Filing for Bankruptcy                                         page 7
Sollwa ra Copyright (c) 2   □2 □ CINGroup - ww w.clncompass.com
         Case 22-12916-MBK Doc 25 Filed 05/04/22 Entered 05/04/22 17:14:32                                                                      Desc Main
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 Debtor 1                          Document      Page 23 of 36
 Debtor 2     Sariot is, George & Sariotis, Cindy                                                                Case numbe r(H nown) 3:22-bk-12916


24. Has any governmental unit notified you that you may be Ii                                       ly liable under or in violation of an environmental law?

      ■     No
      D Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Env1ronmental law, if you         Date of notice
       Address (Numbar, Street, Clly , Slale and ZIP Coca)            Address (Number, s1ru1, City, Slate and       know it
                                                                      ZIP Code)


25. Have you notified any governmental unit of any release of hazardous material?

      ■     No
      D Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Numbar, Street, City, Slata and ZIP Coda)             Address (Number, StrNI, Clty , State and      know it
                                                                      ZIP Code)


26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

      ■     No
      D Yes. Fill in the details.
       Ca&eTitle                                                      Court or agency                            Nature of the case                   Status of the
       Case Number                                                    Name                                                                            caae
                                                                      Address (Numbe,rStrNI, City , State
                                                                      and ZIP Code)


■# I IMGive Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            D A sole proprietor or self-employed in a trade, profeHion, or other activity, either full-time or part-lime
            D A member of a limited liability company (LLC) or limited liability partnership (LLP)
            D A partner in a partnership
            D An offi cer, director, or managing executive of a corporation
            D An owner of at least 5% of the votin13 or equity Hcurities of a corporation
      D No. None of the above :applies. Go to Part 12.
      ■     Yes. Check all that apply above and fill in thedetails below for each business.
       Business Name                                            Describe the nature of the business                  Employer dentifi cation number
       Address ,                                                                                                     Do not incꞏlu de Socia1 Security number or mN.
      {N umbtl , , Street, Cily , State and ZIP Cod•)           Name of accountant or bookkeeper
                                                                                                                     Dates business existed:
      1973 LLC                                                  consulting                                           EIN:         0450087105
      1801 Pltney St
      Oakhurst, NJ 07755-2840                                   Jerold Dreskln CPA 1903 S                            From-To     2016 to present
                                                                Congress Ave , Ste 340 Boynton
                                                                Beach, FL 33426

      TSS Holding LLC                                           Investment ,pr operty                                EIN:

                                                                                                                     From-To Began      1986 and transferred his In
                                                                                                                                  2/2019

28.   Within 2 years before you filed for bankruptcy , did you give a financial statement to anyone about your business? Include all financia l
      institutions , creditors , or other parties.

      ■     No
      0     Yes. Fill in the details below.
       Name                                                     Date Issued
       Address
      {Numbe,rStrH t, City, State and ZIP Code)


Official Form 107                                       Statement of Financ ial Affai rs for Individuals FIiing for Bankruptcy                                    page 6

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            Exhibit C
      Case 22-01109-MBK          Doc 10     Filed 07/07/22 Entered 07/07/22 11:20:00           Desc Main
                                          Document      Page 25 of 36




      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY
      Timothy P. Neumann, Esq. [TN6429]
       Geoffrey P. Neumann, Esq. [59702019]
       BROEGE, NEUMANN, FISCHER & SHAVER, LLC
        25 Abe Voorhees Drive
        Manasquan, New Jersey 08736
         Tel: (732) 223-8484
         Email: timothy.neumann25gmail.com
                  geoff.neumann@gmail.com
          Attorneys for Debtors-in-Possession,
          George Sariotis and Cindy Sariotis

           In Re:                                                 Case No.: 22-12916

          GEORGE SARIOTIS and                                     Chapter 11
          CINDY SARIOTIS,
                                                                  Judge: Michael B. Kaplan
                    Debtors.
                                                                  Hearing Date: 5/19/2022


         CERTIFICATION OF THALIA SARIOTIS IN SUPPORT OF DEBTORS' MOTION
         PURSUANT TO SECTIONS 105(A) AND 363 OF THE BANKRUPTCY CODE AND
        BANKRUPTCY RULES 2002 AND 6004 FOR AN ORDER AUTHORIZING THE SALE
          OF DEBTORS' INTEREST IN REAL PROPERTY COMMONLY KNOWN AS 61
        REDWOOD DRIVE, MONMOUTH COUNTY, NEW JERSEY FREE AND CLEAR OF
              LIENS WITH VALID LIENS TO ATTACH TO PROCEEDS OF SALE

           I, Thalia Sariotis, hereby certify as follows:

1.         I am the mother of Debtor George Sariotis in the above-referenced Chapter 11 bankruptcy

          case.

2.        I reside at the subject property located at 61 Redwood Drive, Ocean, NJ 07712 (the

         "Property").

     3. I have a 5% ownership interest in the Property.

       It is my understanding that the Debtors wish to sell the Property pursuant to a contract of sale

             •    me to remain at the Property until September 30, 2022.
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                                   Document      Page 26 of 36




6. 1'he above statements are true. I understand that if any of the above statements are materially

    false, l am subject to punishment.



                                              Isl Thalia Sariotis
                                                  Thalia Sariotis

     Dated: May 6, 2022
Case 22-01109-MBK   Doc 10     Filed 07/07/22 Entered 07/07/22 11:20:00   Desc Main
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            Exhibit D
Case 22-01109-MBK         Doc 10            Filed 07/07/22 Entered 07/07/22 11:20:00                                     Desc Main
                                          Document      Page 28 of 36




           ꞏ .SEP 11 2009                                                                                     EXEMPT G,

                  if IOOf llHllli
                           BASN                             DEED                               ,,,qo
            This dis made on September             ?..     • 2009

            BETWEE                                                      OC1 2'31
                                                   ,,                                                     /
                    GREGORY & THALIA ARIOTIS, but ba■d aad wi and GEORGE SARJOTIS

            Whose pOSt olltee addr¢SS is 61 .Redwood Drive, Oce1111 NJ 07712

            Referred 10 as the Grantor,

            AND
                                                                             /
                            GEORGE SARJOTIS .tad CINDY SARJOTIS, husband a■d wife with
                            In the property described bM"cia (P11rty or Ille First Part) 111d REGOR
                            THALIA SARIOTTS, hu ln111d and wire witll. a !I¾ lotett51 l11 tb
                            de <ribed bProi ■ (Party or ttw Sff o■d Part)

                    Party of the First Part residing 1801 Pib1cy Street, O akhurst , J 07755
                    Party of the Secc)lld Part residing al 61 Redwood Drive, Ocean         7

            Referred 1.0 as the Oran11:c

            The words " Grantor'' and "Ora.nice" shal l mean all Orantors an

             I.     Transfer oH)wnerabip. The Granlor grants r,d convll
                    {called the " Propeny"} des«ibcd below 10 lhe Gr




            2.


                    o No property tax i
                         applicable)

            3.                             ny consim of!hc land and all Ifie buildings and slrudun: oo the land in the
                                           9 nty of Monmouth and State of New Jcrwy. -.nie legal description is:

                    II




            BEING AND INTENDED to be lhe same Ian& and prem is es C01Jveyed 10 Grego.iy& Thalia Sariotis,
            husband Md wife to George Sariotis, murried from Cedsr Villasc nt Ocean LLC on June 20, 2008
            recorded July 7, 2008 in the Monm<>utb Count)'C lerk's Office iu Book 8730 page 3682.
Case 22-01109-MBK                  Doc 10       Filed 07/07/22 Entered 07/07/22 11:20:00                                             Desc Main
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                               John S. lruhan _Consul ting E
                                                   . A.Professional Corporatio1;- .. _

     John S. Truhan, PE, PP, F.ASCE                                                                          P4ailiJl.g Address:
     Doniel A. Fi6cl1er, PE            • • ,                       •              .                          1442 Lakewood Rood
     Edward J. tau. PLS           Descnpt:100 of Tax Map Lot 14 inꞏBlock 150.06 ꞏ                            P.O. Box K.
     J06eph MA!iso, o ASIA       Ocean Township, Monmouth County, New Jersey .                               Manasqu a-n, NJ 06786



       BEGINNING at a point on the southerly sideline of Redwood D rivꞏe (a SQ' wide private Right-of-
       Way), said point beating easterly 75.00' along the southerly sideline of Redwood D,rive,' from th.e
       intersection of the easterly sideline of Ccc:lar Village Bouleva_rd (a-_50, wideꞏptiv.ate Right-pf-Way), if
       exteod d northerly, and said so thetly sideline of Redwood DJ,:ive,ꞏif xte.nde 1:west.          -and -nwning ꞏ
        thence:                                                                                               .- ,      . . _.
          .                                                                         .    .                       .               .


              1) S 84°-28'-00" E, 55.00' alo ili said s thetly sideline o.f Red                     rive,-- a            t ao ,_d ꞏ. .
                 aortbwesterly comer of Lot 15 in ]}lock l 50.06 ;• thence;                                                ꞏꞏ
                                                                                                   .                .
              2)        05°-32'-00" W, 120.00 ' along the westerly line of sai               to a point and coµier on .the
                                                                                                    '             ..         .
                       northerly line of Lot 11 in Block-150.06, thence;

              3) N 84°-28'-00" W, 55.00' along a portion of the la t m tioned lot-line aod _alo ng a portion of
                 the northerly line of Lot 12 in Block 150:06,     oirt and southeasterly comer of To t.13 in
                 Block 150.06, thence;                 ꞏ ♦

              4) N 05°-32'-00" E, 120.00' along the                    e of said Lot 13, to the point and.place of
                       BEGINNING.

        Containing 6,600 sq. ft. ± ofland.


        T he above description was d.r..w   - ꞏ o.cd ance with a plan titled "Survey Plan of - Tax Lo_t 14,
        Block 150.06 - Cedar Villag t Ocean - Township of Ocean, Monmouth County, New J_ittsey"
        ptepared by John S. Truh          ting Engineers, Inc., dated 5/10/06 anci last revised to 6/10/08.

        The foregoing als            14 iii Block 150.06 as shown and designated on the official Tax Maps
        of Ocean Towns              outh County, New Jersey and fu.tther shown on a certain map titled
        " Final Plat Major Su   ision of Cedar Village at Brick - Phase 2" filed in the Monmouth County
        Clerks office on 6/02/2004 as Case Noꞏ. 294-21.


                   ,                                                                                    ff                            '
        Date                                                                      Edwardµa ...
                                                                                    essional Land Surveyor
                                                                                 - Pr
                                                                                    o
                                                                                   New Jersey Liccns_e # 24GS          0379480_0




                                                1442 Lakewood Road, Wnll, New Jersey
                                                   Telephoneꞏ- Area (732) 228-1813
                                                        Fax • Aren {732) 223-8278
Case 22-01109-MBK                                         Doc 10     Filed 07/07/22 Entered 07/07/22 11:20:00                                        Desc Main
                                                                   Document      Page 30 of 36




                                                                           State of New ersey
                                                            SELLE •s RESIDENCY CERTIFICATION/EXEMPTION
                                                                                          (C.56, P.L. 2004)


                              n•        Prine or l'fpe)
                              SE!.U:R{S) INFORrllr.:rror Cf.cc fn stru cti C'n s, P::gc 2)
                               Name(s)
                                   .         Geor9e Sariotis
                              Current Resklen! Address:
                              street:        180 Pithe,Y Street
                              Cl(Y, Town, Post Oflice                                                                           Slate
                                             Oakhurst



                         Slreef Adcil!ss:
                                       61 Red ood Drive




                     2. CJ                                                         UN'd     c:fU6M!/y        ll1Y              rmicfenc:a wtthln Che mean cleectlon 12f
                                                                            ..isn:16:t.li!Bu.s.c;. &. 121.
                     3.       C        I am a mo, oome)'illg the                           lo • -               rn                 or.In a tnauderln lieu of l9wlh
                                       no acfdtional oonsfdef'81bn.
             . : 4.           Q Seller, nnsferoror n        is             or ofthe.Unhd S1SCe9 or.Ameffca, an agency or authority oflhe
                  .             of New Jef1!E!)', the Ft4erai Hatioin111llllii'laagtt , the f           Loan.Mortgage c«pora!Jon, the -
                                al       Modgilge A:ssoodon; or a p,tyate mortgage fnsUl'MCe oomwi y:..
                         6.    D     S8lfer Js not an lndivlduaf      l'o;wst and u such not required to maku- an eitlmated payment pureuant lo
                                    N.J.SA54A:f-1 et                  .                             - ꞏ                    .
   . ... ,     - I
             . .
                                           GGABl lion fe!-!i'Hi
                                   payment pun;uanJ
                                                                            $1,000 or
                                                                P •QWl -lsetaeq.
                                                        :&A 54A:5-1-1                         affll ..:a iUcfi, the iie1lir Ii t   required   to ab anes11mated
ꞏ ꞏ:.   ꞏ :; ꞏ. 7.       □        Th<, gain from the aalli<--.. notꞏt>e_ recog_nteidꞏfor Fed.efal Income ta,c"pu
                                                                                                                       ꞏ
                                                                                                                        under
                                                                                                                     l.R.C. Section 721 1031, 1033 or la a
    •    . ꞏ                      cemete,y plot ' ( CIRCl.E l1'fE LICASlE SECTION). ll euch GeCUot1 dQes not uJUmat«y apply to.Chis.transac.tion, th&
  ' ꞏ •              ꞏ          . seller ael<n a lhoebllgatloo ca Il_le a New- JerNy Income 18x ratum for 1he ye-ar of the eareꞏ.ꞏ
    .ꞏ - ꞏ: ꞏ11.0                   Transfer by an executor or admlnistral.o{.of enrto a' vlieꞏe or her tꞏo eflec( dlattl, on of the de<:edenfe estate t.i
     •      .ꞏ.                    eooordance ilh Che pn,Ylslons of Che deoe_dent's wll or e Jntestale C8W8 of ll'ilv state. ꞏ        ꞏ             ꞏ




               -ꞏꞏ
Case 22-01109-MBK                         Doc 10        Filed 07/07/22 Entered 07/07/22 11:20:00                                              Desc Main
                                                      Document      Page 31 of 36




                                                                                                                                                       Gli /REP-3
                                                                                                                                                         (6--05)
                                                             State of New Jersey
                                               SELLER'S RESIDENCY CERTIFICATION/EXEMPTION
                                                                              (C.55, P.L. 2004)


           (Pleaw Print or Type)

           SEI.U;H(S) INl"ORr.1ATION (Sec> ln $!r u cl ion s , Page             ::!t
              Name(sJ
                      Gregory &.TRalia Sariotis h/w
              Current RMfdenlAddress:
              Street 61 ꞏ.Redwood Drive
              City. Town, Poat Offioe                                                                            state




           Street Address:
                     61 Redwood Drive
     ' City, Town, Post Ollloe                                                                                   Slate                 ZlpCode

                     Ocean                                                                                        NJ                  07712
                                                                                                                                         losing Oate




                                                                                       the state of NewJersey pursuant to N.J.S A 54A:.1-1 et seq, and
                                                                                 nr,       flC3bkl taxes on any galn o, income from the cllsposllion of this

         2.     C                                                              exausiv&ly as my principal residence within the meaning of 9eClion 121 ꞏ
                                                                              U.S.C. S - t2 1.
        3.     □                                                  1 r.J)lii)J)er1y to a mol1ga9ee    in foreclosix& or in a transfer In lieu of fol1ildosure with
     .• 4 .    C         lier. tranaf'eror or lraMfenle is art:, or avthoritf of the United States of Amenca, an agency or authOrity of the State
                     of New Jenie y, the Federal ational oiigage Assoc:latlon, the F«teollHome Loan Moitgage CO!p()(ation, 1he.Government
                     National Mortgage A;ssoci ꞏ or a private mortgage insurance oompany.
       6.     □                                                    and as such not r&QUired to maka an estimated payment l)(ll'Sllalnt to


      8.      fi    The total oonsi !iQJJ-- ꞏ lt!e property is $1,000 or less and as sucll, the &e11er is       not required to make an estimated
                    payment pursuan     . .A'.. 54A:5-f-1 et seq. ꞏ
      7.      O         gain from 1he sakt'wiU n 01ꞏbe recogniz«t-ror Federal Income fa.x purposes under I.R.C. Section 721, 1031, 1033 or is a
                    Oemetery plot (CIRCLE THE APPLICA8LE       SECTION). Ir such section does net ultimately apply to th fs tran saction, the
                    sener acknO\' es theobli9a11oc:i to file a New Jersey ll'l00n:i8 1ax return for the. year of the sale.
   , a.0            Transl'er   by an   executor or administra.tor or a deoedenfto ꞏa devisee oꞏr heir to efl'ed distribution of the cleoedent"s estate In
                    accoltfanoe th the provisions of the deoeclent's will or the intestale           of this state.                                   ꞏ

    SELLER(S) DECLARATION




                                Dale                                                                           S19n8ture
                                                                                        (Sellfll ,,.._ n<lcae • Power ot Aaomey or Attorney in Fact




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                  RTF-1 (Ao. 211!1107)                           STATE CF NEW JERSEY
                  MUST IUIIMIT .. OUPUCATE            AFFD4YIT OF CONSIOEAAllOtl FOR I/Se 8Y SELLER
                                     (Cl>aplel 49, P,L,1969, H amended lhrough CNpter 33, P.L 2008) (N.J .S .A. :15-5 et seq.)
                          BSFOAE COMPLETIHGTHIS Affl04VJT, PLEASI! fU!AO THe INIS'lRUCTIONS ON THE REl/liRIE BIOEOFTllLS FORM.
                  STATe OF tdiWJE.RSEY                                                                                  FOR Rl!COADER'S U8E ONLY
                                                                                                                                         s_ _ _ _ _ _ _
                                           MONMOUTH
                                                                      }ss.,              ..ipa,   CO<fo
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                  COI..HrY
                  MI.N CIPALITY OF' PROPERTY LOCATTON                         o_c_e_a_n_T_w_p"--

                  (11PARD'.9B Ll!GAL Rg,>Rf§ffi:U>IIYEIS..lnltl'Udfaiu tlJ end #4 on-                           ddeJ
                  0eponer,1.   George Sariotis                 being ooi,,, swom 9COO<din g                                              to ,..,.. upon hi£/her     oalh,
                                                     Gran t or                                                                                          20091randorrlng
                  depoNs and ,a lhat hel.she(H•m•I
                                             i, Ille                       In a deed dated
                          (Gr111tor, IA9fl RlprtH ft-      . o,olO oincer,Ofllcar 01n i. c:-, poll)l, L. ..... ,.I          _. _ _11, otc. 1- - - - -
                  1 11111 property ld1nllhd aa Block runber _ 1_50
                                                                 _ ._06_ _ _ _ _ _                         Lot runbor _ _ 1_4 _ _ _ _ _ _ ..,located at
                    61 Redwood Drive, Ocean NJ 07712
                                                             (el!'MI Addrtt', lown)


                  (3}Prc;>eny trw1llerNd Is CiNt 4A 48 4C (                    o...J. If pn,perty rranilimid ie Class 4A,   colculelOn' F,                llelow 1o mqt,

                  (SA)l'll!QUIR P CALCULATION           o,!QUAL1ZE> VALUATIOff FOfl ALL Cl.ASS 4A COMMEAC;IAC
                             /n!lnJClk>nl 11.5A Mid tl Oil _"I  $Ide)
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                            Total AHessod Valuation + 01!'6Ct0t'I Rallo • quallzad AnMMd Va




                  (41 AA..L ex=i,tPT)Off EBQMEE!: /St• f                    #Bon,_ sibJ
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                  C. 66, P. L 2004, rcr Ille follOW<lg 1'$$,or,{, ). Mero ref9!9nc;e Ill a>C11ml)llan a
                                                                                                       T


                   Consideration is less than                                               1 0. CB'




                   A.         SEMOR CITIZEN             Grantor(s)
                   fl .   {   BLIND PERSON    GraAIOl(s)
                              DISABLED PERSON Grinto<(s

                              Senior clllz:ens, b.,d pe n1, dim .                must alee mtNJl al l of lh8 fol1Dw111g al. aria:
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                              □       Own•d and oc:a,plllCI b;<          1)altlmeof u 'e.
                                      one o,r ...,,_ TJ,<l' l..'Ald a Pfemlses.
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                                                                 0 Vl'lff,/i;IVIL UNION PAPmll!R:5, ONL'I' ONE GRANTOR NEEDS ID OUAU FY IP Tl!J\IANT,$ BY Tl<E


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                   8)
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                                                                                                             □          EW CONSTRUCTION' pllnlad clea y at
                                                                                                                        lhe topd the fir!ll pagedlhedeed.
                  (7) Oeponanl rnaqs 1h15 Allldavk a,           oounlY c:i.11< er reglsler cf                                      and accept fee IIObmllleel hel9Wilh In
                  accordance 'Wllll 11& PfO\'islons cl Qlapl&r 49, P.L 1968, as arner,cllld                                        06.
                                                                                                                                    George Sariotis




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             The street address of the Property is     61 Redwood Drive, Ocean NJ 07712


             4.      Promiaes by Gn otor.The Grautor promises that the Gramor has done no act to encumber the
             Proptrty. TI,is pl'Oluise is called Hco venant IIS to grantor's acis' (NJ .S.A. 46:4•6). This promise means
             th111 the Grantor has not allowed anyone else 10 obtain any legal rights which afie'<:t the Property (such as
             by making a mo rtgage or allowi11g a judgment to be entered against the Grantor)


             S.      S111aatu 1. The Grantor signs this Deed as of the dat6 ai the lop of the first page. (Prim na.me
                     below each si gnatu re.)

             Witnessed y:




             ' TATE OF NEW JERSEY

             COUNTY OF MO MOUTH

                                                                , 200S, GREGORY & THALIA SARJOTIS A D
                                                        before me and staled to my satisfaction 1ha1 thi s rson (or if


             (a)
             (b)
             (c)                                                                                be paid for the tran fer of



                                                                \




             RECORD AND RETURN TO: p._            IZ
             THOMAS J. HIRSCH, ESQ.
             1001 Deal Road
             Ocean NJ 07712
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            Exhibit E
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                             New Jersey Business Gateway
                        Business Entity Information and Records Service
                             Business Id: 0400438501

              Status Report For:         G CS CONTRACTORS CORP
              Report Date:               716/2022
              confirmation Number:       221872702653


     IDENTIFICATION NUMBER, ENTITY TYPE AND STATUS    INFORMATION


              Business ID Number:    0400438501
              Business Type:         DOMESTIC PROFIT CORPORATION
              Status:                REVOKED FOR NOT FILING ANNUAL REPORT FOR 2
                                     CONSECUTIVE YEARS
              Original Filing Date: 08/31/2011
              Stock Amount:          2500
              Home Jurisdiction:         NJ
              Status Change Date:        NOT APPLICABLE


     REVOCATION/SUSPENSION INFORMATION


              DOR suspension Start       03-16-2018
              Date:
              DOR Suspension End         NIA
              Date:
              Tax Suspension Start       NIA
              Date:
              Tax suspension End         NIA
              Date:


     ANNUAL REPORT INFORMATION


              Annual Report Month:       AUGUST
              Last Annual Report         11/11/2015
              Filed:
              Year:                      2015


     AGENT/SERV ICE OF PROCESS (SOP)INFORMATION


              Agent:                     THOMAS J HIRSCH
              Agent/SOP Address:         1001 DEAL RD ,OCEAN TWP.,NJ,07712 0000
              Address Status :           DELIVERABLE
              Main Business Address:     1801 PITNEY ST,OAKHURST,NJ,07755
              Principal Business         96 STEINER AVE,NEPTUNE CITY,NJ,07753
              Address:


     ASSOCIATED NAMES


              Associated Na.me:          NIA
              Type:                      NIA
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                               New Jersey Business Gateway
                         Business Entity Infor mation and Records Service
                               Business Id: 0400438501




     PRINCIPALS




     Following are the most recently reported officers/directors (corporations),
     managers/members/managing members (LLCs), general partners (LPs}, trustees/officers
     (non-profits).


              Title:                    PRESIDENT
              Name:                     SARIOTIS,GEORGE
              Address:                  1801 PITNEY ST ,OAXHURST,NJ 07755
              Title:                    VICE PRESIDENT
              Name:                     HARRIS,JOHN
              Address:                  1317 TURNER AVE ,OCEAN ,NJ 07712


     FILING HISTORY -- CORPORATIONS, LIMITED LIABILITY COMPANIES, LIMITED PARTNERSHIPS AND
     LIMITED LIABILITY PARTNERSHIPS




     To order copies of any of the filings below, return to the service page,
     https://www.njportal.com/dor/businessRecordsa  /nd follow the instructions for obtaining
     copies . Please note that trade names are filed initially with the county clerk(s) and
     are not available through this service. contact the Division for instructions on how to
     order Trade Mark documents.




     Charter Documents for Corporations, LLCs, LPs and LLPs


              original Filing           2011
              (Certificate)Date:


     Changes and l\mendments to the original certificate:


              Filing Type               Year Filed
              REVOKED FOR FAILURE TO 2018
              PAY ANNUAL REPORTS
              Annual Report filing   2015
              with officer/member
              change


     Note:
     Copies of some of the charter documents above, particularly those filed before August
